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 5 Attorney for Defendant
   JESUS MANUEL PERAZA RUIZ
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 8                           IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                         CASE NO. 1:13-CR-00392-002-LJO
11                               Plaintiff,            STIPULATION TO CONTINUE
                                                       SENTENCING
12   v.
13   JESUS MANUEL PERAZA RUIZ
14                               Defendant.
15

16         Defendant, JESUS MANUEL PERAZA RUIZ, by and through his counsel of record,
17 NICHOLAS F. REYES, and Plaintiff, UNITED STATES OF AMERICA, by and

18 through its counsel of record, LAUREL J. MONTOYA, Assistant United States

19 Attorney for the Eastern District of California, hereby stipulate that the sentencing in the
20 above-referenced case currently scheduled for Monday, October 26, 2015, at 8:30a.m. be

21 continued to Monday, December 14, 2015 at 8:30 a.m. in the courtroom for the Honorable

22 Lawrence J. O’Neill, District Judge.

23         The continuance is necessary because defendant has not fulfilled his Safety Valve
24 debriefing due to both defense counsel’s and Assistant United States Attorney’s

25 schedules and availability.
26         It is anticipated based on present scheduling that the Safety Valve requirements can
27 be completed and sentencing positions finalized by December 14, 2015.

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 1         Good cause exists in that the continuance is necessary for defendant to fulfill the
 2 Safety Valve interview and defendant will be prejudiced if not given the opportunity to earn

 3 the Safety Valve 2-point reduction.

 4
     IT IS SO STIPULATED
 5                                                     Respectfully submitted,
 6
     Dated: 10/13/2015                                 /s/ Nicholas F. Reyes
 7                                                     NICHOLAS F. REYES
                                                       Attorney for Defendant
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 9
     IT IS SO STIPULATED
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11
     Dated: 10/13/2015                                 /s/ Laurel J. Montoya
12                                                     LAUREL J. MONTOYA
                                                       Assistant U.S. Attorney
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     IT IS SO ORDERED.
15
        Dated:   October 13, 2015                        /s/ Lawrence J. O’Neill
16                                                 UNITED STATES DISTRICT JUDGE
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